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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 1:21-CV-21079-BB


 SECURITIES AND EXCHANGE COMMISSION,

        Plaintiff,

 v.

 MINTBROKER INTERNATIONAL, LTD.,
 f/k/a SWISS AMERICA SECURITIES LTD.
 and d/b/a SURETRADER, and
 GUY GENTILE, a/k/a GUY GENTILE NIGRO,

       Defendants.
 ___________________________________________/

                     MOTION CLARIFYING COUNSEL APPEARANCES
                      ON BEHALF OF DEFENDANT GUY GENTILE


        Please take notice that the undersigned attorneys wish to clarify appearances entered in

 the above referenced matter. In support of this Motion, undersigned state as follows:

        1.       On November 5, 2021, Attorney Dayliset Rielo entered a notice of appearance on

 behalf of Defendant, Guy Gentile. ECF No. [32].

        2.       On November 5, 2021, Attorney Adam C. Ford motioned the Court to Appear Pro

 Hac Vice, and the Court subsequently entered an Order granting Attorney Ford’s Motion. ECF

 Nos. [33,36].

        3.       On November 8, 2021, Attorney Matthew Aaron Ford motioned the Court to

 Appear Pro Hac Vice, and the Court subsequently entered an Order granting Attorney Ford’s

 Motion. ECF Nos. [40,42].
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         4.      Undersigned respectfully motions this court to clarify their respective

 appearances; specifically, Attorneys Dayliset Rielo, Adam C. Ford, and Matthew Aaron Ford are

 only appearing on behalf of Defendant, Guy Gentile, and not Mintbroker International.

         5.      Defendant, Guy Gentile does not legally control Mintbroker International, thus

 Attorneys Dayliset Rielo, Adam C. Ford, and Matthew Aaron Ford cannot legally appear on the

 entities’ behalf.

         6.      Undersigned Attorneys have made this clarification, and conferred with Plaintiff’s

 counsel, Alice Sum, prior to this filing.

         7.      The parties respectfully Motion the Court to enter an Order reflecting this

 clarification, and directing the Clerk to modify appearances accordingly.

 Dated: November 30, 2021.


 Respectfully submitted,

                                                       /s/Dayliset Rielo______________________
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                                                       FORD O’BRIEN, LLP
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                                                       Attorneys for Defendant Guy Gentile
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